Name &Case
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               5:15-cr-00093-JGB Document 143 Filed 07/13/18 Page 1 of 1 Page ID #:1025
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,                                 CASE NUMBER:

                                                                            ED CR 15-00093-JGB
                                           PLAINTIFF(S)
                   v.
ENRIQUE MARQUEZ, JR.,                                              NOTICE OF MANUAL FILING
                                                                         OR LODGING
                                        DEFENDANT(S).

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July 13, 2018                                              /s/ MELANIE SARTORIS
Date                                                       Attorney Name
                                                           UNITED STATES OF AMERICA
                                                           Party Represented


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G-92 (05/15)                           NOTICE OF MANUAL FILING OR LODGING
